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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA,
V. Criminal No. 21-0123 (PLF)
VITALI GOSSJANKOWSKI, 5
Defendant.
)
ORDER

On June 13, 2023, the Court convened a status conference, during which newly
appointed counsel Matthew Peed confirmed his appearance on behalf of defendant
Vitali GossJankowski. On June 20, 2023, the parties filed a Joint Proposed Post-Trial Briefing
Schedule [Dkt. No. 184]. The Court will adopt the parties’ proposed post-trial briefing schedule.
Accordingly, it is hereby

ORDERED that on or before August 25, 2023, the parties shall file a joint status
report informing the Court of any issues the parties may wish to raise; it is

FURTHER ORDERED that the parties shall brief any post-trial motions for a
judgment of acquittal or for a new trial pursuant to the following schedule:

On or before September 5, 2023, Mr. GossJankowski shall file any post-trial

motions.

On or before September 27, 2023, the government shall file its responses to
Mr. GossJankowski’s motions.
Within seven business days after the government’s responses, Mr. GossJankowski

shall file any replies in support of his motions; and it is
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FURTHER ORDERED that the parties shall appear for a motions hearing on
Mr. GossJankowski’s post-trial motions on October 11, 2023 at 10:00 a.m. in Courtroom 29 in
the William B. Bryant Annex to the E. Barrett Prettyman Courthouse at 333 Constitution Avenue
N.W., Washington, D.C. 20001.

SO ORDERED.

Oa ZA

PAUL L. FRIEDMAN
United States District Judge

DATE: ¢ (2 3 [3
